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                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,

                        Plaintiff,                            CRIMINAL ACTION
       v.
                                                      Case No. 11-cr-20132-04-KHV-DJW
BRENDA R. AGUIRRE-RODRIGUEZ,

                        Defendant.


                                 MEMORANDUM AND ORDER

       On December 21, 2011, a grand jury charged Defendant Brenda Aguirre-Rodriguez, as well

as ten other defendants, with theft of U.S. Department of Housing and Urban Development Section

8 Program housing rent subsidies, and making a false statement on an application for rent subsidies.1

This matter is before the Court on the United States’ oral motion for pretrial detention of Defendant

Brenda Aguirre-Rodriguez (ECF No. 19) made on February 14, 2012. The Court held hearings on

the motion on February 16 and 21, 2012. The Court has considered the motion and the statements

of counsel during the hearings, and, for the reasons set forth below, finds that the Motion should be

denied and Defendant should be released subject to certain conditions to be determined at a future

hearing.

I.     Standards for Detention

       Under the Bail Reform Act of 1984, the Court must order the pretrial release of the accused,

with or without conditions, unless it “finds that no condition or combination of conditions will

reasonably assure the appearance of the person as required and the safety of any other person and



       1
           See Indictment (ECF No. 1), Counts 5-7, and 8.
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the community.”2 In making this determination, the Court must take into account the available

information concerning:

       (1) the nature and circumstances of the offense charged, including whether the
       offense is a crime of violence, a violation of section 1591 [sex trafficking of
       children], a Federal crime of terrorism, or involves a minor victim or a controlled
       substance, firearm, explosive, or destructive device;

       (2) the weight of the evidence against the person;

       (3) the history and characteristics of the person, including--

                (A) the person’s character, physical and mental condition, family ties,
                employment, financial resources, length of residence in the community,
                community ties, past conduct, history relating to drug or alcohol abuse,
                criminal history, and record concerning appearance at court proceedings; and

                (B) whether, at the time of the current offense or arrest, the person was on
                probation, on parole, or on other release pending trial, sentencing, appeal, or
                completion of sentence for an offense under Federal, State, or local law; and

       (4) the nature and seriousness of the danger to any person or the community that
       would be posed by the person’s release. 3

       The government has the burden to prove the risk of flight by a preponderance of the

evidence.4 The government must prove a danger to other persons or the community by clear and

convincing evidence.5 The court must resolve all doubts regarding the propriety of release in the

defendant’s favor.6




       2
        18 U.S.C. § 3142(e).
       3
        18 U.S.C. § 3142(g).
       4
        See U.S. v. Cisneros, 328 F.3d 610, 616 (10th Cir. 2003) (citations omitted).
       5
        See id. (citing 18 U.S.C. § 3142(f)).
       6
        U.S. v. Chavez-Rivas, 536 F. Supp. 2d 962, 965 (E.D. Wis. 2008).

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II.    Application of the Factors

       A.       Nature and Circumstances of the Offense

       Defendant is charged with three counts of theft of public money under 18 U.S.C. § 641, and

one count of making a false statement on a rent subsidy application under 18 U.S.C. § 1001. If

convicted if theft of public monies, Defendant could face penalties of not more than 10 years. If

convicted of making a false statement, Defendant could face imprisonment of not more than 5 years.

       The government estimates that the loss from Defendant’s alleged theft of public monies

totals $49,577.7 At the detention hearing, the government estimated that, if convicted, the sentence

range would be 10 to 16 months.

       The nature of the alleged offenses is theft by fraud and did not involve the use of violence,

force, or weapons. Based upon the amount of monies involved, the probable penalty to be imposed

is not so great that Defendant would be expected to flee. Although the nature of the offense may

reflect a dishonest or deceitful character, as well as an ability to procedure fraudulent identity

documentation, the Court does not find these to be determinative in themselves as showing

Defendant to be a flight risk. The Court considers this factor to weigh in favor of pretrial release.

       B.       Weight of the Evidence

       The Court finds that while the record contains some evidence that Defendant knowingly and

unlawfully made materially false statements and representations on an application for rent subsidy

benefits, and thereby unlawfully stole rent subsidy payments to which she was not qualified to

receive, the evidence is not so overwhelming that it must weigh in favor of detention. The

indictment itself constitutes probable cause to believe that the offenses charged have been committed


       7
        See Indictment (ECF No. 1) at 3.

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and that Defendant has committed them. This factor is neutral.

       C.         History and Characteristics of Defendant

       Defendant is a 30-year old female citizen of Mexico. She has been married to co-defendant

Martin Ramirez since 1996. They have five children between the ages of 4 and 15. His oldest child

is a citizen of Mexico and the other four younger children are U.S. citizens. The children attend

school in the Kansas City area. Defendant is a homemaker and her husband is the sole provider for

their family.

       Defendant first came to Kansas 12 years ago in 2000 and has resided at her current residence

in Kansas City since September 2010. She rents and shares a home with her husband and her

children. Defendant’s parents and two siblings reside in Mexico. She has no family members in the

U.S. other than her husband, children, and an aunt who resides in California. Her husband’s mother

and three siblings reside in the Kansas City metropolitan area.

       Immigration and Customs Enforcement (“ICE”) has lodged a detainer against Defendant due

her illegal status. The government argues that Defendant is a risk of flight based upon the ICE

detainer. While a defendant’s status as a deportable alien alone does not mandate detention, it is a

factor which weighs heavily in the risk of flight analysis.8 As this Court has previously noted in the

companion cases of U.S. v. Lozano-Miranda,9and U.S. v. Garcia-Gallardo,10 the existence of the

ICE detainer is not in and of itself sufficient grounds to find that a defendant poses a flight risk.

Under 8 C.F.R. § 215.2, “No alien shall depart, or attempt to depart, from the United States if his


       8
        See Chavez-Rivas, 536 F. Supp. 2d at 964 n. 3 (citations omitted).
       9
        No. 09-cr-20005-KHV, 2009 WL 113407, at *3 n.13 (D. Kan. Jan. 15, 2009).
       10
            No. 09-cr-20005-KHV, 2009 WL 113412, at *2 n.13 (D. Kan. Jan. 15, 2009).

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departure would be prejudicial to the interests of the United States . . ..”11 The departure of an “alien

who is needed in the United States as . . . a party to[] any criminal case . . . pending in a court in the

United States” is deemed prejudicial to the interests of the United States.12 The departure of such

a criminal defendant alien may be temporarily prevented under 8 C.F.R. § 215.3, which provides

that the criminal defendant alien “may be permitted to depart from the United States with the consent

of the appropriate prosecuting authority, unless such alien is otherwise prohibited from departing

under the provisions of this part.”13

        The government also argues that Defendant should be detained because she had shown that

she can obtain fraudulent documents to establish a different identity. The Court finds that the

government has not carried its burden in this regard. While recognizing that there is some risk of

flight by Defendant due to the ICE detainer, the Court finds this risk is outweighed by Defendant’s

close family ties to the community, the ages of her children, and the length of time she has lived in

the community, the nature of the charges, and her minor prior criminal record. The Court

determines that there are conditions of release that could be set to reasonably assure Defendant’s

presence at trial. That Defendant could obtain fraudulent documents to establish a new identity,

which are reportedly widely available in the community, does not outweigh the totality of all other

considerations in determining whether Defendant is a flight risk. This factor weighs in favor of

pretrial release.




        11
             8 C.F.R. § 215.2(a).
        12
             8 C.F.R. § 215.3.
        13
             Id. (emphasis added).

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       D.        Danger to the Community

       Defendant has very little criminal history. She has one outstanding warrant for failing to pay

a fine issued by the Kansas City, Kansas police department. The United States has not shown that

Defendant poses any risk of danger to the community or other persons. Thus, the Court finds that

this factor weighs in favor of pretrial release.

III.   Conclusion

       Having considered all relevant pleadings and the statements of counsel during the February

16 and 21, 2012 hearings, the Court finds that Defendant should be released. As set out above,

under the Bail Reform Act, the Court must order the pretrial release of Defendant, with or without

conditions, unless the Court “finds that no condition or combination of conditions will reasonably

assure the appearance of the person as required and the safety of any other person and the

community . . ..”14 Based on the relevant pleadings and the statements of counsel during the hearing,

the Court concludes that the United States has not met its burden to show that no set of conditions

of release will assure Defendant’s pretrial presence and protect the community and other persons

from danger.

       IT IS THEREFORE ORDERED that the United States’ oral motion for pretrial detention

of Defendant Brenda R. Aguirre-Rodriguez (ECF No. 19) is denied. Defendant shall be released

subsequent to a hearing to determine the conditions of Defendant’s release.

       IT IS FURTHER ORDERED that a hearing to set the conditions of Defendant’s pretrial

release is set for February 29, 2012 at 9:00 a.m.

       IT IS FURTHER ORDERED that Pretrial Services shall provide proposed conditions of



       14
            18 U.S.C. § 3142(e).

                                                   6
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release no later than February 27, 2012.

       IT IS SO ORDERED.

       Dated in Kansas City, Kansas on this 23rd day of February 2012.

                                                  s/ David J. Waxse
                                                  David J. Waxse
                                                  U.S. Magistrate Judge




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